                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION


 SPACE EXPLORATION
 TECHNOLOGIES CORP.,

                  Plaintiff,
           v.                                                    Case No. 24-cv-0001

 NATIONAL LABOR RELATIONS
 BOARD, et al.,

                  Defendants.


  DEFENDANTS’ MOTION TO EXPEDITE BRIEFING ON DEFENDANTS’ MOTION
     TO TRANSFER VENUE PURSUANT TO 28 U.S.C § 1406(a) AND § 1404(a)

          Defendants respectfully submit this motion to expedite briefing on Defendants’ Motion to

Transfer Venue Pursuant to 28 U.S.C. § 1406(a) and § 1404(a). In support of this motion,

Defendants show as follows:

          1.     On January 4, 2024, Plaintiff Space Exploration Technologies Corp. (“SpaceX”)

filed with this Court a Complaint for Declaratory and Injunctive Relief against Defendants. [ECF

No. 1.]

          2.     On January 11, Defendants filed a Motion to Transfer Venue Pursuant to 28

U.S.C. § 1406(a) and § 1404(a) (“Motion to Transfer”), requesting that this Court transfer this

action in the interest of justice to the Central District of California. [ECF No. 29.]

          3.     The following day, Plaintiff filed a Motion for Preliminary Injunction [ECF No.

37], seeking to enjoin the NLRB’s ongoing administrative proceedings. An administrative

hearing is scheduled for March 5 in Los Angeles, regarding unfair labor practice charges filed by

or on behalf of eight individual discharged employees who reported to or were supervised by



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managers at SpaceX’s facility located at 1 Rocket Road, Hawthorne, California. Seven of those

employees worked in California; one worked remotely from Washington State and reported to

managers at the Hawthorne facility.

       4.      As explained fully in Defendants’ Motion to Transfer, venue is improper in this

Court because no party resides in this district and there is no substantial connection between the

conduct in Plaintiff’s Complaint and this venue. [ECF No. 29 p. 6-7.]

       5.      Even assuming arguendo that venue is proper in this Court, the Central District of

California is a more appropriate venue and transfer to that district is in the interest of justice. See

28 U.S.C. § 1404(a). [ECF No. 29 p. 15-19.]

       6.      Pursuant to Judge Olvera’s civil procedures, Plaintiff is required to file a response

to Defendants’ Motion to Transfer by February 1, and Defendants’ reply is due ten days later.

Plaintiff can then file a surreply ten days after Defendants’ reply. The same rules dictate that

Defendants’ opposition to Plaintiff’s Motion for Preliminary Injunction is due February 2, with

the same ten-day periods covering any subsequent reply and surreply. See Judge Olvera’s Civil

Procedures/Local Rules at Paragraph 6(C)(2), (D). Thus, under the default procedures,

Defendants’ Motion to Transfer might not be fully briefed until February 22, 2024, just twelve

days before the scheduled administrative hearing.

       7.      Expedited briefing would preserve both the parties’ and this Court’s resources

because it would allow this Court to promptly determine whether this matter should be

transferred before turning to Plaintiff’s Motion for a Preliminary Injunction. See S. D. Tex. Loc.

R. 7.8 (“The Court may in its discretion, on its own motion or upon application, entertain and

decide any motion, [and] shorten or extend time periods”).




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          8.    Unlike the Preliminary Injunction motion, Defendants’ Motion to Transfer does

not require analysis of novel, complex constitutional challenges to an agency whose

constitutionality was affirmed many decades ago. See NLRB v. Jones & Laughlin Steel Corp.,

301 U.S. 1, 48-49 (1937). And pursuant to the longstanding rule of constitutional avoidance, this

Court should avoid constitutional questions “if there is also present some other ground upon

which the case may be disposed of.” Ashwander v. Tennessee Valley Auth., 297 U.S. 288, 347

(1936).

          9.    Moreover, if this Court were to transfer this case only after the matter is fully

briefed under the default schedule (with any final surreply due as late as February 22), then the

transferee court would have little time to decide any new preliminary injunction motion filed by

Plaintiff there, in advance of the March 5 hearing. Indeed, as Plaintiff acknowledged just this

past Friday in a filing with the NLRB, “if the transfer motion is granted, that will result in further

delay while the new court gets up to speed on the case and the complex constitutional issues.”

[ECF No. 37-4.] Thus, an expedited schedule would provide the transferee court a reasonable

opportunity to rule on such a motion prior to March 5.

          10.   Defendants accordingly ask this Court to expedite the briefing schedule on

Defendants’ Motion to Transfer, so that the parties’ deadlines are as follows:

                      Plaintiff’s response in opposition to Motion to Transfer: January 22;
                      Defendants’ reply: within 7 days of filing of Plaintiff’s opposition; and
                      Plaintiff’s surreply: within 7 days of filing of Defendants’ reply.

          11.   Defendants conferred via email with Plaintiff’s counsel on January 16 regarding

SpaceX’s position on the proposed expedited schedule. SpaceX does not consent, absent

expedition of the briefing on its Motion for a Preliminary Injunction. Defendants do not agree to

Plaintiff’s request.


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       12.    A proposed order granting the requested expedited schedule is attached as Exhibit

A.

                                                    Respectfully submitted,

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